         Case 1:21-cr-00615-PLF Document 37 Filed 07/21/22 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                    Plaintiff,
v.                                               CASE NO.: 21-cr-615 PLF

STEVEN D. THURLOW,

                    Defendant.
                                       /

 MEMORANDUM REGARDING DEFENDANT’S VIOLATION REPORT

      On July 19, 2022, Defendant Steven Thurlow agreed to voluntarily remove a

number of firearm related items from his home (empty magazines and a pistol brace).

The Court requested an update on the status these items. Mr. Thurlow has sold the

majority of the items at issue (all the AR 15 magazines and the pistol brace) to a friend.

That person will pick up the items the evening of July 21, 2022. Mr. Thurlow’s brother

has agreed to take the few remaining items (pistol magazines). Those items will be

delivered to Mr. Thurlow’s brother the evening of July 22, 2022.



                                           Submitted,

                                           s/James R. Gerometta
                                           Counsel for Jeramiah Caplinger
                                           Federal Community Defender
                                           613 Abbott Street, Suite 500
                                           Detroit, Michigan 48226
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        Case 1:21-cr-00615-PLF Document 37 Filed 07/21/22 Page 2 of 3




                                   Email: james_gerometta@fd.org
                                   Phone: 313.967.5542

Dated: July 14, 2022




                                      2
         Case 1:21-cr-00615-PLF Document 37 Filed 07/21/22 Page 3 of 3




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

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STEVEN D. THURLOW,

                    Defendant.
                                        /

                           CERTIFICATE OF SERVICE

        I, hereby certify that on July 21, 2022, I electronically filed the foregoing paper
with the Clerk of the Court using the ECF system which will send notification of such
filing to all parties of record.

                                            FEDERAL COMMUNITY DEFENDER


                                            s/James R. Gerometta
                                            Assistant Federal Defender
                                            613 Abbott Street, Suite 500
                                            Detroit, MI 48226
                                            Phone: 313-967-5839
                                            E-mail: james_gerometta@fd.org
                                            P60260

Dated: July 14, 2022




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